
Hawkins, J.,
delivered the opinion of the Court.
Upon the hearing of this cause in the Chancery Court, the Chancellor pronounced a decree in favor of complainants, against James A. Edwards, for the sum of $864.00; from which Edwards prayed an appeal to this Court, which was granted upon condition that he enter into bond for the prosecution of the appeal on or before the second Rule day, thereafter. This decree was pronounced at the August Term, 1867, of the Chancery Court at Winchester; and on the 21st day of October, 1867, the defendant executed bond in the sum of two hundred and fifty dollars, conditioned for the successful prosecution of said appeal.
The complainants now move to dismiss the appeal; and the motion must be sustained upon two grounds:
1st, Because of the insufficiency of the bond. Section 3164 of the Code, provides: “Where decrees are for a specific sum of money, and against the party in his own right, the appeal bond shall be for the amount of the decree and damages and costs.” Such is this case.
2d, Because the appeal bond was given after the expiration of the time allowed by the Chancellor, within which to give the bond for the prosecution of the appeal.
Appeal dismissed.
